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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      CRIMINAL NO. 21-cr-399 (RDM)
                                             :
ROMAN STERLINGOV,                            :
                                             :
                      Defendant.             :

                     GOVERNMENT’S MOTION TO QUASH DEFENSE
                    SUBPOENA TO THE GOVERNMENT PROSECUTOR

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves to quash the defendant’s Rule 17 trial subpoena directed at

counsel for the government in this case, Trial Attorney C. Alden Pelker. Heedless of the pending

cross-motions on this very subject, the defense has charged forward with a subpoena to Trial

Attorney Pelker, while refusing to submit a Touhy request or even provide a summary of her

expected testimony. Of course, the subpoena is beside the point: the true aim of the defense is to

manufacture a pretext to secure Trial Attorney Pelker’s removal from this case. The Court should

reject the defendant’s frivolous, legally unsupportable gamesmanship.

                                 FACTUAL BACKGROUND

       A. Intelligence Analyst Pelker’s Limited Role in the Bitcoin Fog Investigation

       Much of the relevant background is summarized in the government’s previous

submissions, ECF No. 64 (Gov’t Mot. In Limine To Preclude the Defense from Calling the

Prosecutor as a Witness for the Defense); ECF No. 73 (Gov’t Opp. to Def. Omnibus Mots. In

Limine), at 40-44; ECF No. 80 (Gov’t Reply in Support of Mot. In Limine To Preclude the Defense

from Calling the Prosecutor as a Witness for the Defense), which are incorporated by reference

herein. As relevant here, Trial Attorney Pelker was previously employed as an FBI Intelligence
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Analyst (IA). 1 In that capacity, IA Pelker authored an “Intelligence Note” regarding Bitcoin Fog,

which was distributed on or about October 28, 2014. The Intelligence Note primarily involved

open-source research: reviewing the Tor-based site for Bitcoin Fog; conducting further open-

source research on sites such as BitcoinTalk.org, Twitter, and DeepDotWeb (a site publicizing

illicit darknet markets); researching domain registration information for Bitcoin Fog’s

informational clearnet website, bitcoinfog.com; and other similar tasks. It also cross-referenced

law enforcement reporting indicating that Bitcoin Fog was being used or recommended by a

variety of criminal actors, from users of a child sexual abuse material website to customers of

online drug markets like Silk Road. The Intelligence Note did not name the defendant, Roman

Sterlingov.

          IA Pelker was never the primary investigating case agent—she was not an “agent” at all—

and she provided limited support to the investigation team, namely by engaging in preliminary

blockchain analysis, showing (as of 2015) that Bitcoin Fog executed a considerable volume of

transactions involving Tor-based darknet markets. IA Pelker’s position as an FBI analyst ended

in 2016, when she joined the Department of Justice’s Computer Crime and Intellectual Property

Section as an Honors Attorney.

          Out of an abundance of caution, the government produced the Intelligence Note described

above in discovery to the defense. The government does not plan to introduce the Intelligence

Note or any other record involving then-IA Pelker as evidence at trial.

          B. Procedural Background

          From the beginning of their appearance in this case, the two men comprising Mr.

Sterlingov’s defense team have acted out a fixation on Trial Attorney Pelker and her career. As a


1
    She was not an FBI “agent,” as the defense repeatedly and inaccurately states.

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Department of Justice attorney, Trial Attorney Pelker has been involved in numerous high-profile

cryptocurrency-related cases, including law enforcement actions against AlphaBay, then the

world’s largest darknet drug marketplace, and Welcome to Video, a darknet site distributing child

sexual abuse material (CSAM) which was located and shut down through blockchain analysis. In

addition to the takedown of the Welcome to Video Tor site and prosecution of its administrator in

South Korea, Trial Attorney Pelker’s team was responsible for rescuing at least 23 children from

ongoing abuse by users of the site. 2 These high-profile cases (not Bitcoin Fog) have been the focus

of numerous media articles and the recent book by WIRED journalist Andy Greenberg. 3

       Yet defense counsel have sought to misrepresent Trial Attorney Pelker’s career as

somehow dependent on the investigation into Bitcoin Fog—in statements to this Court, and in

inaccurate ad hominem attacks during their recent podcast and international conference

appearances. 4 For example, in one podcast episode posted to YouTube, defense counsel presented


2
  See U.S. Dep’t of Justice, The Report of the Attorney General Pursuant to Section 8(b)(iv) of
Executive Order 14067: How To Strengthen International Law Enforcement Cooperation for
Detecting, Investigating, and Prosecuting Criminal Activity Related to Digital Assets (2002), at
30, available at https://www.justice.gov/ag/page/file/1510931/download; U.S. Dep’t of Justice
Press Release, South Korean National and Hundreds of Others Charged Worldwide in the
Takedown of the Largest Darknet Child Pornography Website, Which Was Funded by Bitcoin
(Oct. 16, 2019), available at https://www.justice.gov/opa/pr/south-korean-national-and-hundreds-
others-charged-worldwide-takedown-largest-darknet-child.
3
  Trial Attorney Pelker’s name appears numerous times in Mr. Greenberg’s book, but none of those
instances relates to this case. Indeed, the only attorney who managed to insert his name into the
book in relation to Mr. Sterlingov’s case is his own defense attorney, Mr. Ekeland.
4
  Defense counsel, now practicing in this District as Court-appointed counsel under the Criminal
Justice Act (CJA), should adhere to the D.C. Bar Voluntary Standards of Civility in Professional
Conduct. E.g., Rule 2 (“Except within the bounds of fair argument in pleadings or in formal
proceedings, we will not reflect in our conduct, attitude, or demeanor our clients’ ill feelings, if
any, toward other participants in the legal process.”), Rule 3 (“Except within the bounds of fair
argument in pleadings or in formal proceedings, we will abstain from disparaging personal remarks
or acrimony toward such participants and treat adverse witnesses and parties with fair
consideration.”), Rule 5 (“We will not bring the profession into disrepute by making unfounded
accusations of impropriety or making ad hominem attacks on counsel, and, absent good cause, we
will not attribute bad motives or improper conduct to other counsel.”), Rule 23 (“We will not seek
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a slide entitled “Cast of Characters” that prominently listed Trial Attorney Pelker’s name, among

others. They spent several minutes on inaccurate speculation about Trial Attorney Pelker’s

career—describing her as “a very interesting character in this prosecution,” and claiming that she

“begins the case” while working at the “FBI Russia desk in the National Security Division in

Philadelphia, Pennsylvania” (none of which is accurate). They further stated: “Another reason,

one of the main reasons you see confirmation bias in this case is both the profit motive, you know,

age-old greed, we all know it, and status. And when status comes in, at the beginning of this,

Catherine Alden Pelker is a nobody. Right now she’s one of their star blockchain prosecutors.” 5




court sanctions or disqualification of counsel unless reasonably justified by the circumstances after
conducting a reasonable investigation, which includes attempting to confer with opposing
counsel.”), Rule 27 (“We will not knowingly misrepresent, mischaracterize, misquote, or miscite
facts or authorities.”), available at https://www.dcbar.org/For-Lawyers/Legal-Ethics/D-C-Bar-
Voluntary-Standards-of-Civility-in-Profess.
5
 Roman Sterlingov – Profits over Justice, YouTube (May 7, 2023), at 22:28-28:42, available at
https://www.youtube.com/watch?v=Gjj71IMXaAA.

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       In another podcast, one defense counsel began: “One of the interesting threads of this case

is the story of the lead prosecutor, Catherine Pelker,” while the other exclaimed, “Oh God, yeah.”

They repeated their inaccurate claims about Trial Attorney Pelker originating the investigation,

and claimed: “this case has been following her, and this case is her baby.” They continued:

“Everybody involved in this case on the government side has been putting their own careers and

their own financial interests over justice.” And they further stated: “They’re just breaking the rules

left and right, you know, a f***ing prosecutor on the case is a material fact witness, you know in

any other case that would be a huge thing, but there’s so much f***ed up sh** in this case that

that’s just like one of the ancillary side stories.” 6 Concurrent with this motion, the government is

filing a motion for an order to show cause why the Court should not enter an order pursuant to

Local Criminal Rule 57.7(c) to preclude defense counsel from continuing to make extrajudicial

statements to the media that are likely to have a substantially prejudicial effect on this case.

       In addition to calling this prosecution “her baby,” defense counsel have refused refer to

Trial Attorney Pelker by her title, and they have attempted to personalize and belittle the

government’s pleadings on this issue by referring to them as “her motion” and “her own motion.”

ECF No. 67, at 1, 6.


6
  The Vonu Podcast, TVP #184: ChainAnalysis Coercion & Quack Science: The Troubling Case
of Roman Sterlingov with Tor Ekeland, Mike Hassard, & SW from Samourai Wallet (Apr. 29,
2023), at 41:30-44:38, 1:00:20-1:00:45, available at https://vonupodcast.com/tvp-184-
chainanalysis-coercion-quack-science-the-troubling-case-of-roman-sterlingov-with-tor-ekelend-
mike-hassard-sw-from-samourai-wallet/. Of relevance to the pending motions to quash the
defendant’s Rule 17(c) subpoenas to Chainalysis witnesses, see ECF No. 93 (Gov’t Mot. To Quash
Early-Return Rule 17(c) Subpoenas), ECF No. 95 (Mot. To Quash Subpoena by Non-Parties
Chainalysis Inc., Michael Gronager, Jonathan Levin, and Youli Lee and Incorporated Mem. of
Law), defense counsel also expressed their intent to engage in future litigation against Chainalysis,
stating: “Even if we win, they’re not going to really face—Chainalysis, we’re going to sue the crap
out of ‘em.” Id. at 1:00:05.

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       From the outset of their appearance in this case, defense counsel have sought to remove

Trial Attorney Pelker from the prosecution team. On September 12, 2022, defense counsel emailed

the government with the following demand, among others: “Ms. Pelker is a material fact witness

in this case and we are going to subpoena her testimony. We give you a final opportunity to have

her withdraw from this case as a prosecutor before we raise the issue with the court.”

       The government responded by letter on September 17, 2022 to this and other topics raised

by the defense, stating in relevant part:

       With respect to your statement that “Ms. Pelker is a material fact witness,” please
       provide further detail, including the scope and substance of any testimony you
       would propose to elicit from her as a defense witness, the legal basis for your belief
       that the defense could permissibly call a prosecutor as a witness, and the legal basis
       for your belief that she is unable to serve as counsel for the government. We note
       that you frame your inquiry as the “final opportunity,” but you have only raised this
       issue once in passing (months ago) and have never before asked for Ms. Pelker’s
       withdrawal.

       Defense counsel never responded to the government’s September 17, 2022 letter.

       On October 24, 2022, the government moved in limine to preclude the defense from calling

Trial Attorney Pelker as a witness for the defense. ECF No. 64. In a cross-motion in limine filed

the same day, the defense asked for a hearing “as to [Trial Attorney Pelker’s] role as a material

fact witness and removal as a prosecutor in this case.” 7 ECF No. 59, at 14-15. In none of their

pleadings did the defense offer any outline of the proposed testimony to be elicited from Trial

Attorney Pelker, other than conclusory assertions that she is an “accuser” and vague references to

Chainalysis. The cross-motions in limine remain pending before this Court.

       On March 8, 2023, defense counsel issued nine trial subpoenas for current and former

government personnel. Notwithstanding the pending cross-motions, one of the defense subpoenas


7
 Because the defense motion did not include any proposed order with their motion, as required by
Local Criminal Rule 47(c), the precise relief sought was somewhat unclear.

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was directed to Trial Attorney Pelker. See Ex. 1 (Subpoena to C.A. Pelker). On March 17, 2023,

the government responded: “As you are well aware, the subpoena to government counsel, Trial

Attorney Pelker, is the subject of cross-motions currently pending before the Court. We will be

following up with additional correspondence and intend to raise this matter again with the Court.”

       On March 23, 2023, the Chief of the Civil Division of the U.S. Attorney’s Office for the

District of Columbia issued a letter to defense counsel requesting cooperation with the U.S.

Department of Justice’s Touhy regulations. See Ex. 2 (Letter from B. Hudak to T. Ekeland (Mar.

23, 2023)). The Touhy letter highlighted the relevant regulations and requested: “[T]o assess your

subpoena to Ms. Pelker and evaluate any concerns or objections the Department may have to it,

we request that you provide the summary required by the Department’s Touhy regulations to the

U.S. Attorney’s Office,” and in particular asked the defense to “address whether any of the factors

listed in 28 C.F.R. § 16.26(b) are present, and if they are, why an Assistant Attorney General

should nonetheless authorize disclosure.”

       More than a month later, on May 3, 2023, the defense provided their response to the Touhy

letter. See Ex. 3 (Letter from T. Ekeland to B. Hudak (May 3, 2023)). The defense flatly refused

to engage with the Touhy procedures. They declined to provide any summary of the proposed

testimony. They declined to address whether the proposed testimony would implicate any

privilege, pursuant to 28 C.F.R. § 16.26(a)(2), or any other factors outlined under 28 C.F.R.

§ 16.26(b), such as grand jury secrecy under Fed. R. Crim. P. 6(e), revelation of a confidential

source or informant, or revelation of investigatory records compiled for law enforcement purposes

that would interfere with enforcement proceedings or disclose sensitive investigatory techniques.

They declared that, “[a]s for Touhy, an administrative regulation cannot abrogate Mr. Sterlingov’s

Sixth Amendment right to confront his accusers” and stated that “the government cannot compel



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[Mr. Sterlingov] to reveal his defense strategy pre-trial.” And—of course: “given the fact that

[Trial Attorney Pelker] is both a prosecutor and a material fact witness, the Department should

withdraw her from this case to avoid confusing the jury as to whether she is a witness or an

advocate.”

                                            ARGUMENT

       This Court has an independent duty to review the propriety of subpoenas issued in its name

and backed by the threat of contempt of Court. See Bowman Dairy Co. v. United States, 341 U.S.

214, 221 (1951) (“The burden is on the court to see that the subpoena is good in its entirety and it

is not upon the person who faces punishment to cull the good from the bad.”). The government

has explained at length the relevant legal standards for calling a government prosecutor as witness

in a criminal case in its prior pleadings—which are incorporated by reference herein. See ECF

No. 64; ECF No. 73, at 40-44; ECF No. 80. The government reiterates significant points below,

if only to highlight the defendant’s failure to address, let alone satisfy, the stringent legal standard

for calling his own prosecutor as a witness in his case.

   A. The Defendant Cannot Show that Testimony from Trial Attorney Pelker Is Vital to
      His Case and Cannot Be Obtained from Another Source

       As outlined in the government’s prior pleadings, a defendant seeking to call a prosecutor

as a witness in his case bears the burden of showing: (1) that the proposed testimony is “vital to

his case,” United States v. Watson, 952 F.2d 982, 986 (8th Cir. 1991); and (2) that the same

evidence cannot be obtained from another source, id., and that he has “exhausted” “all other

sources of possible testimony,” United States v. West, 680 F.2d 652, 654 (9th Cir. 1982). See ECF

No. 64, at 3-4 (collecting cases). “Requests for such testimony are disfavored.” Watson, 952 F.2d

at 986. “The law does not liberally permit a defendant to call a prosecutor as a witness. On the

contrary, a defendant must demonstrate a compelling and legitimate need to do so. Where


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witnesses other than the prosecutor can testify to the same matters or conversations, no compelling

need exists.” United States v. Wallach, 788 F. Supp. 739, 743-44 (S.D.N.Y. 1992) (internal

citations omitted).

       The defendant’s subpoena fails under both prongs. First, the defense has not established

that the proposed testimony from Trial Attorney Pelker is “vital” to the defendant’s case. Indeed,

other than vague references to Chainalysis, the defense has refused to provide any summary of her

proposed testimony at all. Without such details, the Court cannot determine whether the subpoena

even requests relevant testimony—meaning testimony that “(a) it has any tendency to make a fact

more or less probable than it would be without the evidence; and (b) the fact is of consequence in

determining the action.” Fed. R. Evid. 401. For example, if the focus of the proposed testimony

is the Department of Justice’s contracting relationship with Chainalysis, the defense cannot explain

how such details would be “of consequence in determining the action,” except by resort to wild

and unfounded conspiracy theories that cannot satisfy the conditional relevance standard under

Fed. R. Evid. 104(b). To be sure, it would be one thing to challenge a witness’s conclusions, based

on the underlying transactional records recorded on the Bitcoin blockchain, which may have been

calculated or graphed with the assistance of a tool produced by Chainalysis (similar to tools

produced by other vendors as well as open-source tools). In much the same way, if the government

offered testimony from a forensic accountant who performed sophisticated equations using

Microsoft Excel, the defendant would be well within his rights in challenging the witness’s math

or conclusions—perhaps by using another tool to perform the same analysis of the underlying

records. But conspiracy theories about the government’s acquisition of Microsoft Office, or its

decision to use Excel rather than another software tool, bear no relationship to any “fact that is of

consequence in determining the action.” Fed. R. Evid. 401.



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       The standard here, moreover, is not just relevance, but whether the testimony from the

prosecutor is “vital to his case.” Watson, 952 F.2d at 986. The proposed testimony from Trial

Attorney Pelker—to the extent it can be discerned—is anything but “vital.” This is not a situation,

for instance, where a prosecutor is the only witness available to testify about a key statement the

defendant or another witness made in an interview. The defense is not seeking evidence related to

the legal elements of the indicted charges, the defendant’s state of mind, the existence of an alibi,

or any other issue of material fact. Instead, the defense is seeking to call his prosecutor (at best)

in order to put on a sideshow to the jury about historical government contracting practices.

       Even if such testimony were relevant, and even if it were “vital” to the defendant’s case, it

is not unique testimony which the defendant cannot obtain from any other source. If there is any

basis to introduce testimony about how Chainalysis was hired or how its tool was used in this

investigation, the defense is obligated to exhaust efforts to seek the same information from other

witnesses and documents other than the government attorney prosecuting the case. See West, 680

F.2d at 654. The fact that the defense has failed to do so—has failed even to try to obtain the same

evidence from another source—speaks volumes about the true intent behind the subpoena.

   B. The Defendant Has Failed To Comply with Touhy Regulations and Appears To Be
      Seeking Privileged Testimony

       The defendant has not complied with the applicable Touhy regulations for obtaining

testimony from a Department of Justice attorney. See ECF No. 73, at 42. “When one considers

the variety of information contained in the files of any government department and the possibilities

of harm from unrestricted disclosure in court, the usefulness, indeed the necessity, of centralizing

determination as to whether subpoenas duces tecum will be willingly obeyed or challenged is

obvious.” United States ex rel. Touhy v. Ragen, 340 U.S. 462, 419 (1951). These procedural

regulations protect important governmental interests by providing a mechanism for senior officials


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to review prospective testimony and determine whether to invoke any substantive privilege against

disclosure. See Commonwealth of Puerto Rico v. United States (D.P.R. Sept. 26, 2006), aff’d, 490

F.3d 50 (1st Cir. 2007) (“However, even though the housekeeping statute and the Touhy

regulations do not themselves create substantive privileges, the federal government can invoke

substantive privileges existing independently of those laws to protect information demanded

through the Touhy process.”). Courts have routinely upheld the need for requesting parties to

provide such summaries when seeking oral testimony from Department officials. See, e.g., United

States v. Springer, 444 F. App’x 256, 263 (10th Cir. 2011); United States v. Bizzard, 674 F.2d

1382, 1387 (11th Cir. 1982); United States v. Marino, 658 F.2d 1120, 1125 (6th Cir. 1981). Failure

to comply with this procedural prerequisite is a valid ground to quash or deny a subpoena. See,

e.g., United States v. Archer, 2010 WL 2633080, at *1-2 (E.D. Tenn. June 25, 2010) (quashing

subpoena to FBI agent); United States v. Guild, 2008 WL 169355, at *2-3 (E.D. Va. Jan. 15, 2008)

(quashing subpoena to AUSA); United States v. Marino, 658 F.2d 1120, 1125 (6th Cir. 1981)

(affirming denial of subpoena to FBI and U.S. Marshal’s Office for failure to comply with Touhy

regulations).

       Here, the subpoena to Trial Attorney Pelker raises critical privilege concerns. Trial

Attorney Pelker joined the Department of Justice in 2016. While the Department’s Touhy

regulations cover both attorneys and FBI employees, the defense appears to be asking for

testimony overwhelmingly covering the time period during which Trial Attorney Pelker was a

practicing Department of Justice attorney (2016 through the present). It is highly likely that such

testimony would be protected by deliberative process privilege and/or as attorney work product.

The defendant’s flat refusal to participate in the Touhy process makes it impossible to ascertain




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any potential claim of privilege in advance. This will necessitate lengthy trial delays for objections

and adjudication of privilege issues if Trial Attorney Pelker is actually called to the stand.

       “The deliberative process privilege . . . protects the decision-making process of

government agencies and encourages the frank discussion of legal and policy issues by ensuring

that agencies are not forced to operate in a fishbowl.” Mapother v. Department of Justice, 3 F.3d

1533, 1537 (D.C. Cir. 1993) (internal citations omitted). For the privilege to apply, the information

must be “pre-decisional” and “deliberative.” Hinckley v. United States, 140 F.3d 277, 284 (D.C.

Cir. 1998). Information is “pre-decisional” if it precedes, in temporal sequency, the decision to

which it relates. Id. Communications are “deliberative” if they are “part of the agency give-and-

take by which the decision itself is made.” Id. (internal citations omitted). Attorneys in the

Department of Justice must be able to confer openly with one another on cases and legal issues

that arise. In fact, seeking assistance or a second opinion from another lawyer, having decisions

scrutinized by supervisors, and talking through processes are imperative to the Department’s

ability to properly investigate and prosecute cases and “serve[s] the public’s interest in honest,

effective government.” In re Sealed Case, 121 F.3d 729, 737 (D.C. Cir. 1997). Although the

government can only guess at this point what testimony the defense would seek to elicit from Trial

Attorney Pelker, anything related to the course of this investigation, and possibly even details

relating to Department contracting policy or decisions, would likely fall under this privilege.

       A party seeking to overcome deliberative process privilege must make “a sufficient

showing of need,” which is a fact-specific inquiry that requires a “fresh balancing” in each instance

of factors such as “the relevance of the evidence, the availability of other evidence, the seriousness

of the litigation, the role of the government, and the possibility of future timidity by government

employees.” Id. at 737-38 (internal quotations and citations omitted). It is impossible for the



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Department to evaluate this privilege in the abstract, and it would be impossible for this Court to

rule on it in the abstract.

        Separately, testimony related to written or recorded materials by attorneys involved in this

investigation should be excluded as attorney work product. “[T]he work-product doctrine shields

materials prepared in anticipation of litigation for trial or for that other party’s representative.”

Jud. Watch, Inc. v. U.S. Dep’t of Just., 432 F.3d 366, 369 (D.C. Cir. 2005) (quoting Fed. R. Civ.

P. 26 (b)(3)). The work product doctrine shields “both deliberative materials such as mental

impressions, conclusions, and opinions, and legal theories and factual materials prepared in

anticipation of litigation.” Williams & Connolly LLP v. U.S. Sec. & Exch. Comm'n, 729 F.Supp.2d

202 (D.D.C. 2010) (citing Tax Analysts v. IRS, 117 F.3d 607, 620 (D.C. Cir. 1997)). Here, any

attorney communications regarding the ongoing investigation into Bitcoin Fog and the defendant

are protected work product. See Block v. United States DOJ, 2022 U.S. Dist. LEXIS 40895, *10

(D.D.C. March 8, 2022) (attorney emails regarding ongoing litigation protected); Gucci Am., Inc.

v. Guess?, Inc., 271 F.R.D. 58, 78 (2d Cir. 2010) (holding that emails regarding a PowerPoint

presentation prepared by in-house counsel properly are withheld as work product); BBAM Aircraft

Mgmt. LP v. Babcock & Brown LLC, 2022 U.S. Dist. LEXIS 154791, *17 (D. Conn. August 29,

2022) (“Email discussions as to the substance of an attorney’s work product, such as the attorney’s

mental impressions regarding legal strategy or the strength of the claims at issue, is confidential

information to which adversaries are not entitled.”). Accordingly, any attempt to elicit testimony

about, or obtain copies of, written or recorded materials by Trial Attorney Pelker or any other

government attorney should be precluded.

        The defense claims the Touhy process would “abrogate Mr. Sterlingov’s Sixth Amendment

right to confront his accusers.” Ex. 3. As explained below, this objection is misplaced because



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Trial Attorney Pelker is not a witness for the government, none of her statements will be introduced

in the government’s case, and she is not a so-called “accuser” of the defendant—or more

accurately, a “witness[] against him,” U.S. Const. Amend. VI—for purposes of the Sixth

Amendment. But even on its own terms, the defendant’s argument has been squarely rejected. As

the Sixth Circuit explained under identical circumstances, the Sixth Amendment does not come

into play until after the defendant complies with the threshold steps prescribed by the Touhy

regulations: “The question of whether these procedures deny the defendants their Sixth

Amendment right to call and cross-examine witnesses is not reached until the defendants follow

the procedures and then have their demands denied. Because [defendants] failed to make a demand

in accordance with 28 C.F.R. § 16.23(c), they have no constitutional claim.” Marino, 658 F.2d at

1125; accord United States v. Allen, 554 F.2d 398, 406-07 (10th Cir. 1977) (“Our record shows

no effort by defendant to submit the affidavit or statement summarizing the testimony desired so

that the Department could consider the request and determine whether to grant permission for the

testimony. In view of this, we feel that defendant is in no position to claim error in the court's

refusal to require testimony by the prosecutor. We feel that the regulation controlling such

disclosures by Department of Justice employees is valid. . . . We do not have the problem,

however, of whether the court should have rejected a refusal by the Department due to the

constitutional guarantees of the Fifth and Sixth Amendments. Since the defendant did not follow

the procedure and submit the required summary of testimony desired, the Department made no

decision whether the prosecutor could testify and we do not reach the constitutional claim.”).

       The defense also claims that submitting a Touhy request would force the defendant to

“disclose his defense strategy [before] trial.” Ex. 3. But “there appears to be nothing inherently

unconstitutional, or otherwise improper, in a requirement that a defendant make a pretrial



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disclosure of his intention to assert a certain type of defense, even where the disclosure involves

privileged information or may substantially affect the defendant’s decisions to testify or to put on

a defense case.” United States v. Mubayyid, 2007 WL 1826067, at *2 (D. Mass. June 22, 2007).

And the defense claim is risible coming from two attorneys who have embarked on a months-long

media and speaking campaign to drum up interest—and donations 8—in this case. They have

appeared at conferences, on podcasts and interviews, and in Twitter feeds in which they hold forth

for hours of grievously inaccurate discussion about the merits of this case—including ad hominem

attacks on Trial Attorney Pelker. If they now express reluctance to set down those thoughts in

writing in a Touhy submission, it is only because doing so would expose just how frivolous and

unfounded their theories really are.

    C. The Defendant’s Conclusory Sixth Amendment Argument Provides No Basis for the
       Subpoena

       The Sixth Amendment Confrontation Clause provides no support for the defendant’s

demand to call his prosecutor to the stand at his trial. See ECF No. 73, at 41-42; ECF No. 80, at

4. As discussed in the government’s prior submissions, the Confrontation Clause is a rule of

admissibility: it prevents the introduction at trial of testimonial out-of-court statements unless the

declarant is available for cross-examination. See Melendez-Diaz v. Massachusetts, 557 U.S. 305,

309 (2009). As the Court explained in Crawford v. Washington, 541 U.S. 36 (2004), the animating

concern behind the Confrontation Clause was to prevent “admission of testimonial statements of



8
  Ironically, defense counsel’s fundraising efforts seem to have redoubled after this Court awarded
them public funding through CJA appointment. See Mar. 22, 2023 Minute Order. The government
assumes that those donating to the defendant’s legal defense have been informed about the defense
team’s public CJA funding. But see No Bullshit Bitcoin, Free Roman Sterlingov – US Govt Nabs
Wrong Man Through Blockchain Analysis (Apr. 14, 2023), available at
https://www.nobsbitcoin.com/free-roman-sterlingov/ (“We’ve been paying for the case with our
own money, going into debt, and are struggling to cover our expenses.”).

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a witness who did not appear at trial.” Id. at 53-54 (emphasis added). That is why the remedy for

a Confrontation Clause violation is exclusion of the testimonial out-of-court statement. See

Comment Note: Construction and Application of Supreme Court's Ruling in Crawford v.

Washington, 541 U.S. 36, 124 S. Ct. 1354, 158 L. Ed. 2d 177, 63 Fed. R. Evid. Serv. 1077 (2004),

with Respect to Confrontation Clause Challenges to Admissibility of Hearsay Statement by

Declarant Whom Defendant Had No Opportunity to Cross-Examine, Part 1 of 2, 30 A.L.R.6th 1

(collecting cases in which “the Confrontation Clause may exclude a proffered testimonial hearsay

statement by a declarant whom the defendant had no opportunity to cross-examine”). The question

of admissibility does not arise here because the government does not intend to admit any out-of-

court statements by Trial Attorney Pelker at trial.

       Nor does the Sixth Amendment confer a freestanding right to call one’s “accusers” at trial. 9

The text of the Constitution refers instead to a right of a defendant “to be confronted with the

witnesses against him.” U.S. Const. Amend. VI (emphasis added). As Crawford explained, “[o]ne

could plausibly read ‘witnesses against’ a defendant to mean those who actually testify at trial,

those whose statements are offered at trial, or something in-between.” 541 U.S. at 42-43 (internal

citations omitted). Under any definition, that is still limited to “witnesses,” meaning a person

whose testimonial statements are introduced by the government against a defendant at trial. See

id. at 68. As the government has repeatedly stated, it does not intend to introduce any of Trial

Attorney Pelker’s out-of-court statements against the defendant at trial. The Sixth Amendment

offers no support for the defendant’s claimed “right” to round up his so-called “accusers”—



9
 The defense provides no basis for characterizing Trial Attorney Pelker as an “accuser,” even in
a colloquial sense, other than her legal work as a government prosecutor. As noted above, the
2014 Intelligence Note authored by then-IA Pelker does not name Roman Sterlingov or otherwise
“accuse” him.

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whether prosecutors, grand jurors, or anyone else against whom the defendant feels aggrieved—

to call as defense witnesses at trial without consideration of their prospective testimony. 10

     D. The Defendant’s Subpoena Is a Pretext for a Frivolous Motion To Disqualify

        The defense team’s inability to articulate any straightforward legal or factual justification

for the subpoena to Trial Attorney Pelker exposes their real agenda: disqualification. It is frivolous

and unethical to subpoena opposing counsel as a mere pretext for securing tactical advantage at

trial. Williamsburg Wax Museum, Inc. v. Historic Figures, Inc., 501 F. Supp. 326, 331 & n.19

(D.D.C. 1980) (noting that “motions for disqualification have increasingly been used for strategic

litigation advantage,” and explaining that “[a] party cannot disqualify its opponent’s attorneys

simply by threatening to call them as witnesses”). See ECF No. 73, at 43-44.

        Disqualification of opposing counsel is a “‘drastic measure that is disfavored by the

courts.’” Ambush v. Engelberg, 282 F. Supp. 3d 58, 62 (D.D.C. 2017) (quoting Konarski v.

Donovan, 763 F. Supp. 2d 128, 135-36 (D.D.C. 2011)); see also United States v. Crowder, 313 F.

Supp. 3d 135, 141 (D.D.C. 2018) (“[D]isqualification is highly disfavored, and any motion to

disqualify counsel is therefore examined with a skeptical eye.”); In re Rail Freight Fuel Surcharge

Antitrust Litigation, 965 F. Supp. 2d 104, 110 (D.D.C. 2013) (“‘Disqualification, however, is a

drastic measure that is disfavored by the courts, and disqualification motions should be subject to

particularly strict judicial scrutiny.’”) (quoting Konarski, 763 F. Supp. 2d at 135-36). That is


10
   To be sure, the Sixth Amendment’s Compulsory Process Clause provides a separate right for a
defendant to call “witnesses in his favor,” U.S. Const. Amend. VI. But such demands for testimony
must be justified on their own merits, rather than through talismanic invocation of the
Confrontation Clause. See, e.g., United States v. Tennessee Morales-Morales, 181 F.3d 81 (1st
Cir. 1998) (“A violation of the compulsory process clause can be established only on a showing
that the missing witness’s testimony would have been relevant, material, and favorable. Indeed,
the Sixth Amendment does not by its terms grant to a criminal defendant the right to secure the
attendance and testimony of any and all witnesses: it guarantees him compulsory process for
obtaining witnesses in his favor.”) (internal citations and quotations omitted).

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because “such motions may be used as ‘procedural weapons’ to advance purely tactical purposes,”

Ambush, 282 F. Supp. 3d at 62 (internal quotations omitted). Any motion for disqualification of

opposing counsel is evaluated under a standard of “strict judicial scrutiny.” In re Rail Freight, 965

F. Supp. 2d at 110.

       The government reserves its arguments on disqualification, in the event the Court orders

Trial Attorney Pelker to testify on behalf of the defendant. “The D.C. Circuit has cautioned that,

even where a violation is found, disqualification is warranted only ‘rarely’ in cases where there is

a ‘serious question as to counsel’s ability to act as a zealous and effective advocate for the client’

or the ‘substantial possibility of an unfair advantage to the current client because of counsel’s prior

representation of the opposing party[.]’” Ambush, 282 F. Supp. 3d at 62 (quoting Koller by and

Through Koller v. Richardson-Merrell Inc., 737 F.2d 1038, 1056 (D.C. Cir. 1984), vacated on

other grounds, 472 U.S. 424 (1985)). The government will wait to submit supplemental briefing

and argument based on the particular content and circumstances of the prospective testimony

proposed by the defense.




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                                        CONCLUSION

       For the foregoing reasons, the Court should quash the defendant’s trial subpoena to the

government prosecutor in this case, Trial Attorney Pelker.


                                            Respectfully submitted,
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